                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

DENVER E. PETIT-HOMME,                            )
           Plaintiff,                             )
                                                  )
               v.                                 )             C.A. No. 19-11559-LTS
                                                  )
STATE OF MASSACHUSETTS,                           )
          Defendant.                              )


                                     PROCEDURAL ORDER

        Plaintiff has filed a self-prepared complaint, but has not paid the $350.00 filing fee and
the $50.00 administrative fee1, see 28 U.S.C. § 1914(a) ($350.00 filing fee for all non-habeas
civil actions), or filed a motion for leave to proceed without prepayment of the filing fee, see 28
U.S.C. § 1915 (proceedings in forma pauperis).

        Accordingly, plaintiff must either (1) pay the $400.00 filing and administrative fees; or
(2) move for leave to proceed without prepayment of the filing fee. Failure of plaintiff to
comply with this directive by Thursday, August 8, 2019 may result in the dismissal of this
action.

        If plaintiff elects to seek in forma pauperis status, plaintiff must submit an affidavit that
includes a statement of all plaintiff’s assets. See 28 U.S.C. § 1915(a)(1). For the convenience of
litigants, this Court provides a form application to seek leave to proceed in forma pauperis. The
Clerk shall provide plaintiff with an Application to Proceed in District Court Without Prepaying
Fees or Costs.

       SO ORDERED.


 7/18/2019                                  Leo T. Sorokin
DATE                                       UNITED STATES DISTRICT JUDGE




       The $50.00 administrative fee became effective May 1, 2013. See Judicial Conference
       1

Fee Schedule.
